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A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                           UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DMSION



W T E D STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:06-cr-82-T-30EAJ
                                                              USM NUMBER: 48580-018
VS   .


JOSE ABEL RENDON-RAMOS
                                                              Defendant's Attorney: Scon Seiden, cja.

THE DEFENDANT:

X pleaded guilty to count(s) ONE and TWO of the Indictment.
-
- pleaded no10 contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                    NATURE OF OFFENSE                         OFFENSE ENDED
46 App. U.S.C. §!$1903(a).         Conspiracy to Possess with Intent to      March 6. 2006                         One
1903(g), and 1903(j) and                    Distribute Five Kilograms or More of
21 U.S.C. §960(b)(l)(B)(ii)        Cocaine whiie on Board a Vessel Subject
                                   to the Jurisdiction of the United States



46 App. U.S.C. §§1903(a), and      Possession With Intent to Distribute Five March 6, 2006
18 U.S.C. $2; and 21 U.S.C.        Kilograms or More of Cocaine while on
§960@)(1)(W(ii)                    Board a Vessel Subject to the Jurisdiction
                                   of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


_
- The defendant has been found not guilty on count(s)
  Count(s) of the Indictment is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until aU fines, restitution, costs, and special assessments imposed by this judgment are fully
paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                Date of Imposition of Sentence: August 18, 2006




                                                                                T @ ~ . D STATES DISTRICT JUDGl

                                                                                DATE: ~ u g u sj!(,2006
                                                                                                t
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A 0 245B (Rev 06iOSj Sheet 2 - Imprisonnlent (Judgment in a Criminal Case)
Defendant:         JOSE ABEL RENDON-RAMOS                                                                   Judgment - Page 2of 6
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                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7),the court fi~ldsthat the sentence imposed is sufficient, but uot greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committecl to the custody of the United States Bureau of Prisons to be
Inpriso~ledfor a total term of SEVENTY (70) MONTHS as to Counts One aud Two of the Indictment, all such terms
to run concurrently.


 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at a correctional
facility where the defendant may learn English and computer skills.


-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.rn./p.m. on -.
          - as notified by the United Srates Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          -as notitied by the Probation or Pretrial Services Oftice.




            I have executed this judgment as follows:




            Defendant delivered on                                                to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                       -   --



                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:           JOSE ABEL RENDON-RAMOS                                                                        Judgment - Page 3of 6
Case No. :           8:06-cr-82-T-30EAJ
                                                            SUPERVISED RELEASE

       Upon release fro111inlprison~nent,the defendant shall be on supervised release for a term of FIVE (5) YEARS
as to Counts One and Two of the Inclictrnent, all such terms to run concurrently.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
           thc defendant shall not lcave the judicial district without the permission of the court or probation officer;

           thc defendant shall scport to the probation officer and shall submit a truthful and complete written report within thc first fivc days of cach
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           [he defendant shall support his or her dcpcndcnts and mcet other family responsibilities;

           lhc dcfendant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling. training. or other
           acceptable rcasons;

           thc defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the dcfendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by 3 physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, imless grantcd pernlission to do so by the probation officer:

           the defendant shall pcrn~ita probation officer to visit him or her at any time at home or elsewhere and shall pcl-mil confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within sevcnty-hvo hours of being arrested or questioned by a law enforcement officer:

             the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of thc court: and

             as directed by the probation officer, the dcfendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
             or personal history or characteristics and shall pernit the probation officcr to make such notifications and to confirm the defendant's
             conipliance with such notification requirement.
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A 0 245B (Rev. 06/05)Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant :       JOSE ABEL RENDON-RAMOS                                                              Judgment - Page   4   of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


X
-        If the defendant is deported, helshe shall not be allowed to re-enter the United States without the express permission of the
         appropriate governmental authority.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.
X
-        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 24513 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:         JOSE ABEL RENDON-RAMOS                                                            Judgment - Page 5 of 6
Case No. :         8:06-cr-82-T-30EAJ

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                           -
                                                                 Fine                        Total Restitution

         Totals:            $200.00                              M7aived                     NIA


-        The determination of restitution is deferred until          .     An Amended Judgment in a Crinlirlal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant illusc make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S .C. 5
         3664(i), all non-federal victims must be paid before the dnited States.


Name of Payee                                 Total Loss*                  Restitution Ordered               Prioritv or Percentage




                            Totals:            L-                          $


-        Restitution amount ordered pursuant to plea agreement $
-        The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 36 12(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine        - restitution.

        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 1 10, 1 lOA, and 113.4 of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, lf96.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)
                                                                        -



Defendant:        JOSE ABEL RENDON-RAMOS                                                            Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        X       L.uinp sum payment of $ 200.00            due immediately, balance due
                            -not later than                    , Or

                            -in accordance - C , - D, - E or - F below; or
B.       -         Payment to begin immediately (may be co~nbinedwith -C, -D. or - F below); or
C.       -         Payment in equal                   (e.g.. weekly. monthly, quarterly) installments of $                over a
                   period of          (e.g . , months or years), to commence              days (e. g . , 30 or 60 days) after the
                   date of this judgment; or
D.       -        Payment in equal                  (e.g., weekly, monthly, quarterly) installments of S               over a
                  period of
                               , (e.g . , months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
E.       -       Payment during the term of supervised release will commence within                          (e.g.. 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and
 i_
                                                                                                               i!
property, or portions thereof, subject to forfeiture, which are in the possession or control o the defendant or the
defendant' s nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
( 5 ) fine interest, (6) cornnlunity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
